       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. James Willis Campbell, Sr.
        v. Commonwealth of Virginia
        Record No. 1404-15-3
        Opinion rendered by Senior Judge Clements on
        October 25, 2016

    2. Claudia Kathleen Pitts
       v. Commonwealth of Virginia
       Record No. 1728-15-2
       Opinion rendered by Senior Judge Haley on
        November 8, 2016

    3. Drew Tidwell
       v. Jennifer Late
       Record No. 1388-16-4
       Opinion rendered by Judge Clements on
        May 30, 2017

    4. George Ellis Brown, Jr.
       v. Commonwealth of Virginia
       Record No. 0507-16-2
       Opinion rendered by Judge Beales on
        August 1, 2017

    5. Latron Dupree Brown
       v. Commonwealth of Virginia
       Record No. 1998-15-2
       Opinion rendered by Judge Humphreys on
        August 1, 2017
